Contract Incentive Detail - HVAC
Period : September 2023
                                                                                                                                                       EXHIBIT F
EMPLOYEE INFORMATION

Employee                      : Jeffrey W Erker                                                                                  Job Code                   : J07682

Employee ID                   : 1064705                                                                                          Plan                      : SCPJ - SIP BSNA HVAC Smart Buildings Sales Reps
                                                                                                                                 (SCPJ)
Branch/Dept                   : N10 - 0000                                                                                       Plan Effective Date       : 1/10/2013

Manager                       : Curtis M Crossley                                                                                Manager ID                : 1114917

Pay Suspend                   : No
 INCENTIVE SUMMARY

Contract Number                                     First Period      Cont Type   Status                     Vol          GM     Credit Split %        Estimated Total         Incentive Paid to      Estimated Remaining
                                                                                                                                                       Incentive               Date                   Incentive

0N100182                                            07/01/2020        PSC         Closed                  $0.00          $0.00          0%                           $0.00                    $0.00                     $0.00
0N100190                                            03/01/2020        PSR         Active             $23,960.00      $7,755.57         100%                        $623.57                  $262.54                   $361.03
0N100218                                            03/01/2020        PSC         Active            $218,451.00      $2,345.92         100%                      $1,685.16                $1,630.56                    $54.60

0N100244                                            04/01/2020        PSC         Closed             $34,297.00          $0.00         100%                        $80.18                    $80.18                     $0.00

0N100332                                            08/01/2020        PSC         Active          $3,670,921.00    $368,743.63          15%                      $7,517.62                $6,232.82                 $1,284.80
0N100333                                            08/01/2020        PSC         Active            $737,419.00     $75,023.65          10%                      $1,045.55                  $865.70                   $179.85

0N100334                                            08/01/2020        PSC         Active             $20,380.00      $1,632.08          15%                        $30.04                    $22.30                     $7.74
0N100352                                            09/01/2020        PSC         Active            $951,812.00    $197,009.01         100%                    $17,384.25                $12,798.86                 $4,585.39

1N100052                                            11/01/2020        PSR         Transferred, Open Change
                                                                                                     $208,477.01
                                                                                                           Order     $7,675.18         100%                      $1,448.55                $1,448.55                     $0.00

1N100092                                            01/01/2021        PSR         Active            $604,107.32    $188,647.75          47%                      $7,201.35                $5,129.78                 $2,071.57
1N100126                                            02/01/2021        PSR         Active             $23,200.00      $7,290.57         100%                        $589.22                  $419.53                   $169.69

1N100148                                            02/01/2021        PSR         Transferred, Open Change
                                                                                                     $162,895.00
                                                                                                           Order    $54,092.12         100%                      $4,330.16                $3,071.16                 $1,259.00

1N100149                                            02/01/2021        PSC         Active            $459,200.00    $179,626.27         100%                    $15,044.75                 $8,969.45                 $6,075.30

1N100186                                            03/01/2021        PSR         Active            $296,640.00     $78,712.29         100%                      $6,569.25                $4,737.22                 $1,832.03

1N100228                                            04/01/2021        PSR         Transferred           $770.00       $489.76          100%                        $37.76                    $26.36                    $11.40

1N100272                                            05/01/2021        PSR         Active              $3,930.00       $225.70          100%                        $32.70                    $26.11                     $6.59

1N100351                                            07/01/2021        PSR         Active            $247,691.00     $86,015.01         100%                      $6,834.61                $4,832.61                 $2,002.00

1N100393                                            08/01/2021        PSR         Active            $354,400.00    $173,348.12         100%                    $13,122.45                 $9,087.77                 $4,034.68
1N100412                                            04/01/2022        PSC         Active          $1,400,000.00    $420,805.99         100%                    $34,283.60                $23,490.32                $10,793.28

2N100021                                            10/01/2021        PSR         Closed                  $0.00          $0.00           0%                            $0.00                  $0.00                     $0.00

2N100028                                            10/01/2021        PSC         Active             $28,670.00      $6,571.43         100%                       $566.02                   $413.07                   $152.95

2N100045                                            12/01/2021        PSR         Active             $95,156.00     $32,008.95         100%                      $2,556.80                $1,811.79                   $745.01

2N100046                                            11/01/2021        PSR         Closed             $95,412.00     $35,366.58         100%                      $2,781.23                $2,781.23                     $0.00




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Contract Incentive Detail - HVAC
Period : September 2023


EMPLOYEE INFORMATION

Employee                      : Jeffrey W Erker                                                                                Job Code                   : J07682

Employee ID                   : 1064705                                                                                        Plan                      : SCPJ - SIP BSNA HVAC Smart Buildings Sales Reps
                                                                                                                               (SCPJ)
Branch/Dept                   : N10 - 0000                                                                                     Plan Effective Date       : 1/10/2013

Manager                       : Curtis M Crossley                                                                              Manager ID                : 1114917

Pay Suspend                   : No
 INCENTIVE SUMMAR

Contract Number                                     First Period      Cont Type   Status                   Vol          GM     Credit Split %        Estimated Total        Incentive Paid to      Estimated Remaining
                                                                                                                                                     Incentive              Date                   Incentive

2N100053                                            11/01/2021        PSR         Active         $271,232.00      $86,806.53         100%                      $6,993.17               $4,972.75                 $2,020.42

2N100054                                            11/01/2021        PSR         Active        $1,575,416.00    $489,984.06         100%                    $43,217.99               $20,409.24                $22,808.75

2N100059                                            12/01/2021        PSR         Active         $522,246.00     $174,577.19         100%                    $13,959.49                $9,896.21                 $4,063.28

2N100060                                            11/01/2021        PSC         Active         $109,144.00      $27,761.29         100%                      $2,337.28               $1,691.13                   $646.15

2N100069                                            12/01/2021        PSR         Closed          $59,805.00      $16,914.65         100%                      $1,393.94               $1,393.94                     $0.00

2N100076                                            12/01/2021        PSR         Closed          $31,171.00       $9,368.34         100%                       $763.26                  $763.26                     $0.00

2N100078                                            12/01/2021        PSR         Transferred    $117,833.00      $64,276.57         100%                      $4,804.64               $4,804.64                     $0.00

2N100108                                            02/01/2022        PSR         Transferred     $85,565.00      $12,148.22         100%                      $1,192.90               $1,192.90                     $0.00

2N100109                                            02/01/2022        PSR         Transferred     $70,888.00      $14,235.64         100%                      $1,265.67               $1,265.67                     $0.00

2N100139                                            02/01/2022        PSR         Active        $2,800,000.00    $605,433.29         100%                    $30,082.02               $10,520.01                $19,562.01
2N100157                                            03/01/2022        PSR         Active          $716,902.00     $72,106.19          18%                     $1,830.93                $1,226.75                   $604.18
2N100158                                            03/01/2022        PSR         Active          $146,953.00     $25,033.00          18%                       $688.75                  $478.99                   $209.76
2N100161                                            03/01/2022        PSR         Active          $245,000.00    $102,423.55         100%                     $8,464.92                $5,427.14                 $3,037.78

2N100163                                            03/01/2022        PSR         Transferred    $610,257.00     $242,643.79         100%                    $18,881.97               $18,881.97                     $0.00

2N100187                                            04/01/2022        PSR         Transferred     $67,800.00      $22,545.03         100%                      $1,804.34               $1,804.34                     $0.00

2N100192                                            04/01/2022        PSR         Transferred     $21,240.00       $8,135.30         100%                       $636.58                  $636.58                     $0.00

2N100201                                            04/01/2022        PSR         Closed         $357,517.00     $172,685.09         100%                    $13,092.39               $13,092.39                     $0.00
2N100224                                            05/01/2022        PSR         Transferred     $81,420.48      $32,707.82         100%                     $2,541.46                $1,780.19                   $761.27

2N100227                                            05/01/2022        PSR         Transferred     $17,840.00       $5,706.50         100%                       $459.76                  $459.76                     $0.00

2N100229                                            05/01/2022        PSR         Active         $154,873.00      $59,909.94         100%                      $4,680.94               $3,286.54                 $1,394.40

2N100230                                            05/01/2022        PSR         Transferred     $20,823.00       $6,419.56         100%                       $520.60                  $520.60                     $0.00

2N100244                                            06/01/2022        PSR         Transferred    $249,643.00     $137,600.13         100%                    $11,092.72               $11,092.72                     $0.00




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Contract Incentive Detail - HVAC
Period : September 2023


EMPLOYEE INFORMATION

Employee                      : Jeffrey W Erker                                                                                Job Code                   : J07682

Employee ID                   : 1064705                                                                                        Plan                      : SCPJ - SIP BSNA HVAC Smart Buildings Sales Reps
                                                                                                                               (SCPJ)
Branch/Dept                   : N10 - 0000                                                                                     Plan Effective Date       : 1/10/2013

Manager                       : Curtis M Crossley                                                                              Manager ID                : 1114917

Pay Suspend                   : No
 INCENTIVE SUMMAR

Contract Number                                     First Period      Cont Type   Status                   Vol          GM     Credit Split %        Estimated Total        Incentive Paid to      Estimated Remaining
                                                                                                                                                     Incentive              Date                   Incentive

2N100249                                            06/01/2022        PSR         Active         $163,340.00      $58,496.70         100%                      $5,681.20               $3,814.86                 $1,866.34

2N100272                                            07/01/2022        PSR         Transferred     $23,300.00       $8,611.24         100%                       $823.75                  $823.75                     $0.00
2N100276                                            07/01/2022        PSR         Active          $17,870.00       $6,050.76         100%                       $604.08                  $472.75                   $131.33

2N100283                                            07/01/2022        PSR         Active            $6,700.00      $1,536.58         100%                       $189.89                  $163.00                    $26.89

2N100284                                            07/01/2022        PSR         Active        $1,555,086.00    $601,969.03         100%                    $56,340.54               $45,806.08                $10,534.46

2N100297                                            08/01/2022        PSR         Transferred      $12,167.00      $2,261.74         100%                       $167.84                  $167.84                     $0.00
2N100299                                            08/01/2022        PSC         Active        $1,338,858.00    $435,405.89          63%                    $27,820.36               $23,042.11                 $4,778.25

2N100319                                            09/01/2022        PSR         Active          $45,871.00      $16,450.58         100%                      $1,596.60               $1,308.72                   $287.88

2N100320                                            08/01/2022        PSR         Active          $63,340.00      $19,225.20         100%                      $1,246.29                 $909.85                   $336.44

2N100325                                            09/01/2022        PSR         Active         $300,491.00      $59,225.08         100%                      $4,313.46               $3,277.03                 $1,036.43
2N100329                                            09/01/2022        PSR         Active         $233,163.00      $83,047.23         100%                      $8,086.97               $6,633.64                 $1,453.33

2N100330                                            09/01/2022        Prime       Closed            $4,500.00      $2,520.57         100%                       $146.28                  $146.28                     $0.00

2N100333                                            09/01/2022        PSR         Active          $27,930.00       $9,370.21         100%                       $939.81                  $611.85                   $327.96

2N100336                                            09/01/2022        PSR         Active          $20,700.00       $5,493.32         100%                       $367.82                  $271.68                    $96.14

2N100341                                            09/01/2022        PSR         Active          $38,125.90      $10,670.33         100%                       $705.09                  $518.36                   $186.73

2N100344                                            09/01/2022        PSR         Transferred     $40,230.00      $10,432.63         100%                       $702.66                  $702.66                     $0.00

2N100346                                            09/01/2022        PSR         Transferred     $28,750.00      $10,555.57         100%                       $657.16                  $657.16                     $0.00

2N100347                                            09/01/2022        PSR         Active         $227,213.47      $85,168.66         100%                      $5,280.89               $3,790.44                 $1,490.45

2N100350                                            09/01/2022        PSR         Transferred       $7,500.00      $3,050.71         100%                       $279.10                  $279.10                     $0.00

2N100351                                            09/01/2022        Prime       Closed         $167,072.30      $65,791.02          27%                      $1,363.96               $1,363.96                     $0.00

2N100352                                            09/01/2022        PSR         Active         $128,991.00      $48,089.00         100%                      $4,581.18               $3,537.41                 $1,043.77

3N100014                                            10/01/2022        PSR         Transferred     $35,796.98      $13,320.96         100%                      $1,270.14               $1,270.14                     $0.00




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Contract Incentive Detail - HVAC
Period : September 2023


EMPLOYEE INFORMATION

Employee                      : Jeffrey W Erker                                                                               Job Code                   : J07682

Employee ID                   : 1064705                                                                                       Plan                      : SCPJ - SIP BSNA HVAC Smart Buildings Sales Reps
                                                                                                                              (SCPJ)
Branch/Dept                   : N10 - 0000                                                                                    Plan Effective Date       : 1/10/2013

Manager                       : Curtis M Crossley                                                                             Manager ID                : 1114917

Pay Suspend                   : No
 INCENTIVE SUMMAR

Contract Number                                     First Period      Cont Type   Status                  Vol          GM     Credit Split %        Estimated Total        Incentive Paid to      Estimated Remaining
                                                                                                                                                    Incentive              Date                   Incentive

3N100022                                            10/01/2022        Prime       Active        $130,000.00      $53,361.15          38%                      $2,182.06               $1,467.29                   $714.77

3N100023                                            11/01/2022        PSR         Active          $2,100.00         $751.97         100%                        $73.04                   $59.88                    $13.16
3N100024                                            10/01/2022        PSR         Transferred    $16,100.00       $5,723.50         100%                       $358.63                  $358.63                     $0.00
3N100029                                            10/01/2022        Prime       Transferred    $36,460.00      $18,439.94          50%                       $904.37                  $904.37                     $0.00

3N100035                                            12/01/2022        PSR         Active         $10,000.00       $4,037.07         100%                       $370.60                  $229.31                   $141.29

3N100036                                            11/01/2022        PSR         Active        $103,073.00      $35,686.84         100%                     $3,523.70                $2,899.18                   $624.52
3N100042                                            11/01/2022        PSR         Active        $314,100.00     $113,009.06         100%                    $10,950.89                $7,063.38                 $3,887.51

3N100043                                            11/01/2022        PSR         Active         $35,499.00      $13,370.68         100%                      $1,267.60               $1,033.61                   $233.99

3N100044                                            11/01/2022        PSR         Transferred      $1,400.00       $131.63          100%                        $12.88                   $12.88                     $0.00

3N100045                                            11/01/2022        PSR         Active           $4,800.00      $2,967.14         100%                       $229.36                  $177.43                    $51.93

3N100046                                            11/01/2022        PSR         Transferred      $4,800.00      $2,715.60         100%                       $216.78                  $216.78                     $0.00

3N100047                                            11/01/2022        PSR         Transferred    $15,280.00       $4,307.10         100%                       $284.12                  $284.12                     $0.00

3N100051                                            12/01/2022        PSR         Active         $87,840.00      $35,084.41         100%                      $3,236.52               $2,622.54                   $613.98

3N100053                                            12/01/2022        Prime       Transferred   $150,810.00      $78,102.84          50%                      $3,797.99               $3,797.99                     $0.00

3N100062                                            12/01/2022        PSR         Active         $41,755.00      $14,465.34         100%                      $1,427.89               $1,017.01                   $410.88

3N100064                                            01/01/2023        PSR         Active         $18,420.00       $6,437.86         100%                       $632.73                  $444.10                   $188.63

3N100068                                            12/01/2022        PSR         Active         $53,900.00      $20,346.35         100%                      $1,926.88               $1,570.82                   $356.06

3N100072                                            12/01/2022        PSR         Active        $256,940.00      $87,203.09         100%                      $8,696.02               $5,643.91                 $3,052.11

3N100082                                            01/01/2023        PSR         Active         $26,851.00       $9,846.03         100%                       $945.41                  $773.11                   $172.30

3N100087                                            01/01/2023        PSR         Active         $95,206.00      $40,444.66         100%                      $3,628.85               $2,791.84                   $837.01

3N100088                                            01/01/2023        PSR         Transferred    $12,600.00       $5,226.90         100%                       $318.05                  $318.05                     $0.00

3N100089                                            01/01/2023        PSR         Transferred    $12,300.00        $124.19          100%                       $213.77                  $213.77                     $0.00




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Contract Incentive Detail - HVAC
Period : September 2023


EMPLOYEE INFORMATION

Employee                      : Jeffrey W Erker                                                                           Job Code                   : J07682

Employee ID                   : 1064705                                                                                   Plan                      : SCPJ - SIP BSNA HVAC Smart Buildings Sales Reps
                                                                                                                          (SCPJ)
Branch/Dept                   : N10 - 0000                                                                                Plan Effective Date       : 1/10/2013

Manager                       : Curtis M Crossley                                                                         Manager ID                : 1114917

Pay Suspend                   : No
 INCENTIVE SUMMAR

Contract Number                                     First Period      Cont Type   Status              Vol          GM     Credit Split %        Estimated Total        Incentive Paid to      Estimated Remaining
                                                                                                                                                Incentive              Date                   Incentive

3N100113                                            02/01/2023        Prime       Active    $305,135.00     $134,212.46          25%                      $3,775.31               $3,041.34                   $733.97

3N100117                                            02/01/2023        PSR         Active       $6,280.00      $1,415.81         100%                       $105.33                   $55.78                    $49.55

3N100141                                            03/01/2023        PSR         Active     $13,400.00       $1,961.21         100%                       $171.76                  $103.12                    $68.64

3N100142                                            03/01/2023        Prime       Active       $8,200.00      $1,576.49         100%                       $123.92                   $96.34                    $27.58

3N100150                                            03/01/2023        PSR         Active     $49,050.00      $19,790.26         100%                      $2,001.15               $1,654.82                   $346.33

3N100165                                            05/01/2023        PSR         Active     $22,720.00       $6,463.78         100%                       $448.15                  $221.92                   $226.23

3N100169                                            04/01/2023        PSR         Active     $28,980.00      $10,858.48         100%                      $1,140.64                 $760.59                   $380.05

3N100170                                            04/01/2023        PSR         Active    $648,930.00     $226,729.39         100%                    $24,720.63               $16,785.10                 $7,935.53

3N100172                                            05/01/2023        PSR         Active     $47,852.00       $7,550.88         100%                       $640.73                  $376.45                   $264.28
3N100174                                            04/01/2023        PSR         Active     $16,525.00       $6,303.50         100%                       $656.01                  $435.39                   $220.62

3N100179                                            05/01/2023        PSR         Active     $58,680.00      $20,097.63         100%                      $2,215.16               $1,863.45                   $351.71

3N100190                                            05/01/2023        PSR         Active     $24,958.00       $8,235.62         100%                       $549.05                  $395.37                   $153.68

3N100191                                            05/01/2023        PSR         Active    $192,665.00      $66,165.01         100%                      $7,281.98               $4,966.21                 $2,315.77

3N100192                                            05/01/2023        PSR         Active    $414,500.00     $141,286.41         100%                    $15,613.38               $10,668.36                 $4,945.02

3N100193                                            05/01/2023        PSR         Active    $337,998.00     $121,685.45         100%                    $13,055.49                $8,796.49                 $4,259.00

3N100196                                            05/01/2023        PSC         Active     $89,144.00      $22,604.63         100%                      $1,620.52                 $829.36                   $791.16

3N100198                                            05/01/2023        PSR         Active       $8,500.00       $744.98          100%                       $212.56                  $199.52                    $13.04

3N100199                                            05/01/2023        PSR         Active       $1,820.00       $261.35          100%                        $23.08                   $16.14                     $6.94

3N100200                                            05/01/2023        PSR         Active     $18,900.00       $6,551.49         100%                       $717.39                  $488.08                   $229.31

3N100201                                            05/01/2023        PSR         Active       $7,800.00      $2,591.10         100%                       $290.43                  $199.75                    $90.68

3N100203                                            06/01/2023        PSR         Active    $187,826.00      $62,357.65         100%                      $6,991.78               $4,809.26                 $2,182.52




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Contract Incentive Detail - HVAC
Period : September 2023


EMPLOYEE INFORMATION

Employee                      : Jeffrey W Erker                                                                           Job Code                   : J07682

Employee ID                   : 1064705                                                                                   Plan                      : SCPJ - SIP BSNA HVAC Smart Buildings Sales Reps
                                                                                                                          (SCPJ)
Branch/Dept                   : N10 - 0000                                                                                Plan Effective Date       : 1/10/2013

Manager                       : Curtis M Crossley                                                                         Manager ID                : 1114917

Pay Suspend                   : No
 INCENTIVE SUMMAR

Contract Number                                     First Period      Cont Type   Status              Vol          GM     Credit Split %        Estimated Total        Incentive Paid to      Estimated Remaining
                                                                                                                                                Incentive              Date                   Incentive

3N100207                                            05/01/2023        PSR         Active    $358,200.00     $133,151.71         100%                    $14,045.46                $9,385.16                 $4,660.30

3N100218                                            06/01/2023        PSR         Active     $21,000.00       $5,492.87         100%                       $390.14                  $197.89                   $192.25

3N100219                                            08/01/2023        PSR         Active     $28,510.00      $12,927.24         100%                      $1,234.36                 $781.91                   $452.45

3N100221                                            06/01/2023        PSC         Active     $33,411.00       $9,390.60         100%                      $1,158.63                 $992.89                   $165.74

3N100224                                            06/01/2023        PSR         Active     $11,200.00       $3,748.96         100%                       $418.45                  $323.04                    $95.41

3N100225                                            06/01/2023        PSR         Active    $212,120.00      $70,877.53         100%                      $7,918.85               $5,539.14                 $2,379.71

3N100226                                            06/01/2023        PSR         Active    $886,466.00     $218,636.44         100%                    $15,807.38                $8,155.11                 $7,652.27

3N100228                                            06/01/2023        PSR         Active     $54,337.00      $18,039.47         100%                      $2,022.66               $1,391.28                   $631.38

3N100229                                            06/01/2023        PSR         Active    $124,521.00      $43,581.80         100%                      $4,747.35               $3,221.99                 $1,525.36

3N100233                                            06/01/2023        PSR         Active      $2,100.00       $1,028.38         100%                         $94.73                  $58.74                    $35.99
3N100234                                            07/01/2023        PSR         Active     $31,350.00      $11,911.99         100%                      $1,242.17                 $825.26                   $416.91

3N100248                                            07/01/2023        PSR         Active     $45,139.00      $15,121.32         100%                      $1,687.04               $1,157.80                   $529.24

3N100249                                            07/01/2023        PSR         Active    $762,659.00     $262,872.99          50%                    $14,436.74                $9,836.46                 $4,600.28

3N100252                                            07/01/2023        PSR         Active     $37,700.00      $10,811.64         100%                       $747.93                  $369.52                   $378.41

3N100253                                            09/01/2023        Prime       Active     $27,855.00      $10,287.47         100%                      $1,088.87                 $728.81                   $360.06

3N100258                                            07/01/2023        PSR         Active       $5,200.00      $3,382.32         100%                       $276.37                  $217.18                    $59.19

3N100262                                            08/01/2023        PSR         Active     $47,120.00      $15,978.62         100%                      $1,770.78               $1,211.53                   $559.25

3N100274                                            08/01/2023        PSR         Active       $1,900.00       $687.70          100%                        $73.57                   $49.51                    $24.06

3N100275                                            08/01/2023        PSR         Active     $15,780.00       $5,419.72         100%                       $596.45                  $406.76                   $189.69

3N100276                                            08/01/2023        PSR         Active       $1,200.00          $0.00         100%                        $-11.26                   $1.24                   $-12.50

3N100278                                            08/01/2023        PSR         Active     $34,122.00      $11,859.39         100%                      $1,296.73                 $881.65                   $415.08
3N100279                                            08/01/2023        PSR         Active      $6,012.00       $1,990.31         100%                        $223.53                 $153.86                    $69.67


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Contract Incentive Detail - HVAC
Period : September 2023


EMPLOYEE INFORMATION

Employee                      : Jeffrey W Erker                                                                          Job Code                   : J07682

Employee ID                   : 1064705                                                                                  Plan                      : SCPJ - SIP BSNA HVAC Smart Buildings Sales Reps
                                                                                                                         (SCPJ)
Branch/Dept                   : N10 - 0000                                                                               Plan Effective Date       : 1/10/2013

Manager                       : Curtis M Crossley                                                                        Manager ID                : 1114917

Pay Suspend                   : No
 INCENTIVE SUMMAR

Contract Number                                     First Period      Cont Type   Status              Vol         GM     Credit Split %        Estimated Total        Incentive Paid to      Estimated Remaining
                                                                                                                                               Incentive              Date                   Incentive

3N100300                                            09/30/2023        PSR         Active     $81,959.00     $28,742.16         100%                      $3,127.50               $2,121.52                 $1,005.98

3N100303                                            09/01/2023        PSR         Active     $50,000.00     $17,403.31         100%                      $1,901.42               $1,292.30                   $609.12

3N100304                                            09/30/2023        PSR         Active     $39,710.00     $11,714.77         100%                       $804.14                  $394.12                   $410.02

Total                                                                                                                                                  $622,288.17             $443,661.81               $178,626.38




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